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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MICHAEL ESTRADA,

             Plaintiff,                       CIVIL ACTION FILE NO.:

v.                                            ______________________

                                              INJUNCTIVE RELIEF SOUGHT

BEALL’S, INC., a Foreign Profit Corporation,
d/b/a BEALL’S; BEALL’S OUTLET STORES, INC.,
a Foreign Profit Corporation, d/b/a BEALL’S OUTLET,

          Defendants.
_________________________________________/

                                   COMPLAINT

      Plaintiff, MICHAEL ESTRADA (“Plaintiff”), by and through the

undersigned counsel, hereby files this Complaint against Defendant BEALL’S,

INC., a Foreign Profit Corporation, d/b/a BEALL’S; BEALL’S OUTLET STORES,

INC., a Foreign Profit Corporation, d/b/a BEALL’S OUTLET, and says as follows:

                                 INTRODUCTION

      This is an action under Title III of the Americans with Disabilities Act (“the

ADA”) alleging barriers to access at Defendant’s place of public accommodation,

the retail store known as Beall’s or Beall’s Outlet.        Defendant is the proper

Defendant with respect to the premises, as the owner, operator, lessor and/or

administrator thereof. The subject premises, as a public facility or a private facility
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used by the public, is a place of public accommodation as defined by the ADA. It

includes parking, approaches and entrances, paths of travel, facilities, toilet rooms

and other public accommodations and services covered by the ADA.

                           JURISDICTION AND VENUE

      1.      This Court is vested with original jurisdiction over this action pursuant

to 28 U.S.C. §§ 1331 and 1343, for Plaintiff’s claims arising under Title 42 U.S.C.

§ 12181 et seq. are based on Defendant’s violations of Title III of the ADA.

      2.      Venue is proper in the Northern District of Georgia, Atlanta Division,

pursuant to 28 U.S.C. § 1391(b) and LR 3.1 in that Defendant is a foreign corporation

which resides by agency in this judicial district and division.

                                       PARTIES

      3.      At all times material hereto, MICHAEL ESTRADA (hereinafter

“Plaintiff”), was a resident of the State of Georgia and suffered from a qualified

disability in this State. Due to his disability, Plaintiff is substantially impaired in

several major life activities and requires a walker as his primary means of mobility.

Prior to filing the instant action, Plaintiff personally visited the subject property, but

he was denied full and equal access to, and the full use and equal enjoyment of, the

facilities, which property is the subject of this case.

      4.      Defendant,    BEALL’S       OUTLET          STORES,    INC.    (hereinafter

“Defendant” or “Beall’s”), is a foreign corporation having its principal place of
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business in Bradenton, Florida.       Defendant is authorized to transact, and is

transacting, business in the State of Georgia, and in this judicial district. On

information and belief, Defendant is the owner, lessor and/or the operator of the

subject facility, and owner of the improvements on the real property where the

facility subject to this action is located. That said facility is located at 3150 Macon

Road, Columbus, Georgia 31906 (hereinafter “the subject facility”).

                                   COUNT ONE

                    VIOLATIONS OF TITLE III OF THE
                   AMERICANS WITH DISABILITIES ACT

      5.      The building or facility at issue is a public accommodation subject to

the provisions of the ADA, and it must be in compliance therewith.

      6.      Defendant has discriminated, and continues to discriminate, against

Plaintiff and other disabled persons, by denying Plaintiff full and equal access to,

and the full and equal enjoyment of, the goods, services, facilities, privileges,

advantages, and/or accommodations at its facility in derogation of 42 U.S.C. § 12181

et seq., and as prohibited by 42 U.S.C. § 12181 et seq., by failing to remove

architectural barriers where such removal is readily achievable.

      7.      Plaintiff has been, and continues to be, unable to gain access to, and

enjoy the benefits of the goods and services purported to be provided at, the subject

location, which is owned, operated, controlled and maintained by Defendant. Prior

to filing the instant action, and within the applicable limitations period, Plaintiff
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visited the subject property and was denied full and safe access to the benefits,

accommodations, and services otherwise afforded to persons who do not suffer from

a disability. Plaintiff’s access was inhibited by, and Plaintiff personally encountered,

the barriers to access detailed hereinafter, which barriers remain, in violation of

federal law. As a proximate result of the foregoing, Plaintiff suffered an injury in

fact in precisely the manner and form which the ADA was enacted to safeguard

against.

      8.      Plaintiff continues to desire access to the subject facility but continues

to be injured in that he is unable to gain access and continues to be discriminated

against due to barriers to access which remain at and about the subject facility.

Absent remedial action by Defendant, Plaintiff will continue to encounter the

barriers described herein, and, as a result, will continue to be discriminated against

by Defendant on the basis of his disability. Plaintiff has been discriminated against,

and has reasonable grounds to believe he will continue to suffer discrimination in

the future, because of Defendant’s continuing, deliberate and knowing violations of

the ADA.

      9.      Plaintiff intends to, and will, visit the property in the near future to

utilize the goods and services thereon.
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      10.     Defendant’s facility is in violation of 42 U.S.C. § 12181 et seq., and,

consequently, Plaintiff is denied access as a result of the following specific

violations:

      Men’s Restroom

      a)      Providing a gate or door with a continuous opening pressure of greater

              than 5 lbs., exceeding the limits for a person with a disability in

              violation of 2010 ADAAG §§ 404, 404.1, 404.2, 404.9 and 309.4;

      b)      Failing to provide the proper insulation or protection for plumbing or

              other sharp or abrasive objects under a sink or countertop in violation

              of 2010 ADAAG §§ 606 and 606.5;

      c)      Failing to provide the proper spacing between the grab bar and an object

              projecting out of the wall in violation of 2010 ADAAG §§ 609, 609.1,

              and 609.3;

      d)      Failing to provide toilet paper dispensers in the proper position in front

              of the water closet or at the correct height above the finished floor in

              violation of 2010 ADAAG §§ 604, 604.7 and 309.4;

      e)      Failing to provide a paper towel dispenser at the correct height above

              the finished floor in violation of 2010 ADAAG §§606, 606.1 and 308;
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      f)      Failing to provide sufficient clear floor space around a water closet

              without any obstructing elements in this space in violation of 2010

              ADAAG §§ 4.22.3, 603, 603.2.3, 604, 604.3 and 604.3.1;

      g)      Failing to provide a coat hook for a person with a disability in violation

              of 2010 ADAAG §§ 603, 603.4 and 308;

      h)      Failing to provide mirror(s) situated above lavatories or countertops at

              the proper height above the finished floor in violation of 2010 ADAAG

              §§ 603 and 603.3.

      11.     Plaintiff alleges numerous other barriers to access at the subject facility

not specifically referenced herein, which barriers can be identified only after a full

inspection by Plaintiff and Plaintiff’s representatives has been made.

      12.     To date the barriers and other violations of the ADA exist at the subject

facility, and such barriers have not been remedied or altered in order to attain

substantial compliance with the ADA and its promulgating regulations.

      13.     Defendant is required to make its facility, which is a place of public

accommodation, accessible to persons with disabilities.

      14.     The remediation of barriers and accommodations sought by Plaintiff is

readily achievable, technically feasible, and would not result in a significant loss of

marketing or sale space to Defendant.
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      15.    Independent of his intent to return as a patron of the property, Plaintiff

also intends to return to the property to determine whether the barriers to access have

been remedied.

      16.    Removal of the barriers to access at the property would allow Plaintiff

to fully utilize the goods and services located thereon.

      17.    Plaintiff has been required to retain counsel for the filing and

prosecution of this action. Plaintiff is entitled to have and recover from Defendant

reasonable attorneys’ fees, costs and expenses.

      18.    This Court is vested with the authority to grant injunctive relief to

Plaintiff, including ordering Defendant to alter the subject facility to make it readily

accessible to persons with disabilities to the extent required by the ADA, and to close

the subject facility until the requisite modifications are achieved.

      WHEREFORE, Plaintiff hereby requests judgment against Defendant and

prays for the following additional relief:

      (a)    That the Court declare the subject property owned, operated, leased,

             controlled and administered by Defendant, to be in violation of the

             ADA;

      (b)    That the Court enter an Order requiring Defendant to alter its facilities

             to make them accessible to persons with disabilities to the full extent

             required by law;
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(c)   That the Court enter an order requiring Defendant to cease operating its

      business at the subject facility for such reasonable time as to require

      Defendant to evaluate and neutralize its policies, practices and

      procedures toward persons with disabilities and to undertake remedial

      measures;

(d)   That the Court award Plaintiff reasonable attorneys’ fees, costs and

      further relief as it deems just and proper in the premises.

DATED: March 19, 2020.

                                Respectfully submitted,

                                MATTHEW N. POPE, P.C.

                                By: /s/ Matthew N. Pope
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                                COUNSEL FOR PLAINTIFF
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